Case 24-10216-LSS Doc13 Filed 02/26/24 Page 1 of 3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 7
Sunworks, Inc., Case No. 24-10215 (LSS)
Debtor. (Joint Administration Pending)
Re: Docket Item 11
In re: Chapter 7
Solcius, LLC, Case No. 24-10216 (LSS)
Debtor. (Joint Administration Pending)
Re: Docket Item dt
In re: Chapter 7
Commercial Solar Energy, Inc., Case No. 24-10217 (LSS)
Debtor. (Joint Administration Pending)
Re: Docket Item 11
In re: Chapter 7
Sunworks United, Inc., Case No. 24-10218 (LSS)
Debtor. (Joint Administration Pending)
Re: Docket Item 20

ORDER GRANTING MOTION FOR JOINT ADMINISTRATION

Upon the motion (the “Motion”)! of the interim Chapter 7 Trustee for an order (a)
directing the joint administration of the Debtors’ Chapter 7 cases for procedural purposes only;
and (b) granting related relief, all as more fully set forth in the Motion; and this Court having
jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found

that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§

1 Capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the Motion.
Case 24-10216-LSS Doc13_ Filed 02/26/24 Page 2 of 3

1408 and 1409; and this Court having found that the relief requested in the Motion is in the best
interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court
having determined that there is just cause for the relief granted herein,

IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED as set forth in this Order.

2. The above-captioned cases are consolidated for procedural purposes only and
shall be jointly administered by the Court under Case No. 24-10215 LSS.

3. The caption of the jointly administered cases shall read as follows:

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re: Chapter 7

SUNWORKS, INC., et al.,’ Case No. 24-10215 (LSS)

Nee New Nee Nee Nee”

Debtors. (Jointly Administered)

1 The Debtors in these cases are the following entities (the respective case numbers for each estate follows in
parentheses): Sunworks, Inc. (24-10215 LSS); Solcius, LLC (24-10216 LSS); Commercial Solar Energy, Inc. (24-
10217 LSS); and Sunworks United, Inc. (24-10218 LSS).

4. A docket entry, substantially similar to the following, shall be entered on the
docket of each of the Debtors other than that of Debtor Sunworks, Inc. to reflect the joint

administration of these cases:

An order has been entered in accordance with Rule 1015(b) of the Federal Rules
of Bankruptcy Procedure and Rule 1015-1 of the Local Bankruptcy Rules for the
United States Bankruptcy Court for the District of Delaware directing joint
administration for procedural purposes only of the cases of Sunworks, Inc. (24-
10215 LSS); Solctus, LLC (24-10216 LSS); Commercial Solar Energy, Inc. (24-
10217 LSS); and Sunworks United, Inc. (24-10218 LSS). The docket in Case No.
24-10215 should be consulted for all matters affecting this case.

5. The Clerk of the United States Bankruptcy Court for the District of Delaware

shall keep one consolidated docket, one file, and one consolidated service list for these cases.
Case 24-10216-LSS Doc13_ Filed 02/26/24 Page 3 of 3

6. Nothing in this Order shall be deemed or construed as directing or otherwise
effecting substantive consolidation of these cases and this Order shall be without prejudice to the
rights of the Trustee to seek entry of an Order substantively consolidating their respective cases.

7. All pleadings, notices, and other submissions in these cases shall be filed on the
docket for Case No: 24-10215 LSS. However, any proof of claim must be filed in the case of the
particular Debtor against which such claim is asserted.

8. The Trustee is authorized to take all actions necessary to effectuate the relief
granted in this Order in accordance with the Motion.

9. This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Mit fut .
Dated: February 26th, 2024 LAURIE SELBER'SILVERSTEIN

Wilmington, Delaware 3. UNITED STATES BANKRUPTCY JUDGE
